Case 1:04-cv-01253-RL.]-STA Document 24 Filed 07/14/05 Page 1 of 3 Page|D 33

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT 0F TENNESSEE F l L § o ev

EASTERN DIVISION "-"-3#~___
JUL 1 4 2905

WILLIE CARNEY, T“Tg§gét<:;uwcé$m
W. D. OF TN, Jackson

Plaintiff,

VS. No. 04-1253-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
RODNEY CLARK,
Plaintiff,
VS. No. 04-1254-T

TI-IE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
FRED JONES,
Plaintiff,
VS. No. 04-1256-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

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REGINALD CHARLES,

Plaintiff,
VS. NO. 04-1255-'1`

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

ORDER OF REFERENCE

Defendant’s Motic)n for Protective Order is hereby referred to United States
Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

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JA S D. TODD
UN TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:04-CV-01253 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

